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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,                    :      Case No. 1:18-cv-427
                                              :
        Petitioner,                           :      Judge Timothy S. Black
                                              :
 vs.                                          :      Magistrate Judge Karen L. Litkovitz
                                              :
 MAC PRINTING CO., LLC,                       :
                                              :
        Respondent.                           :

                          DECISION AND ENTRY
            ADOPTING THE REPORT AND RECOMMENDATION (Doc. 9)

       This case is before the Court pursuant to the Order of General Reference to United

States Magistrate Judge Karen L. Litkovitz. Pursuant to such reference, the Magistrate

Judge reviewed the pleadings and, on September 10, 2018, submitted a Report and

Recommendation (Doc. 9). No objections were filed.

       As required by 28 U.S.C. § 636(b) and Fed. R. Civ. P. 72(b), the Court has

reviewed the comprehensive findings of the Magistrate Judge and considered de novo all

of the filings in this matter. Upon consideration of the foregoing, the Court finds that the

Report and Recommendation should be and is hereby adopted in its entirety.

       Accordingly:

       1.      The Report and Recommendation (Doc. 9) is ADOPTED;

       2.      The Court will issue a show cause order requiring Respondent Mac Printing
               Co., LLC and its President John McLaughlin to appear before the Court on
               May 28, 2019 and show cause why they should not be held in contempt.
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        IT IS SO ORDERED.

Date:        4/26/19
                                                     Timothy S. Black
                                                     United States District Judge




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